      Case 17-04048-can         Doc 254 Filed 08/05/20            Entered 08/05/20 19:43:52            Desc ADV
                                     Jgmnt hearing held           Page 1 of 1

7jgmthhd (5/19)
                              UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MISSOURI

 In Re: Jean Marie Scott                                        Bankruptcy Case No.
 Debtor                                                         16−41545−can7

 United States Trustee
    Plaintiff(s)                                                Adversary Case No.
                                                                17−04048−can
 v.

 Deighan Law LLC
 David L. Cooper
    Defendant(s)

                                           CLERK'S JUDGMENT


    This proceeding having come on for trial or hearing before the court, the Honorable Cynthia A. Norton , United
States Bankruptcy Judge, presiding, and the issues having been duly tried or heard and a decision having been
rendered.

IT IS ORDERED AND ADJUDGED: Judgment is entered in favor of Defendant Deighan Law LLC on Count I;
Judgment is entered against Defendant Deighan Law LLC on Count II and the Defendant Deighan Law LLC is
ordered to disgorge $1,585 to the Debtor, Jean Marie Scott within 14 days of the date hereof, and to file a certificate
with the Court showing compliance with the Courts Order within 7 days thereafter;
Judgment is entered in favor of Defendants Deighan Law LLC and David Cooper on Count III;
Judgment is entered in favor of Defendants Deighan Law LLC and David Cooper on Count IV;
Judgment is entered in favor of Defendant Deighan Law LLC on Counts V and VI, without prejudice to other
parties making a referral to disciplinary or other appropriate body to the extent they have knowledge of who
committed any alleged ethics violation.
All other requests for relief are denied; each party to bear its own costs.


                                                                Paige Wymore−Wynn
                                                                Court Executive

                                                                By: /s/ Beth Graham
                                                                    Deputy Clerk




Date of issuance: 8/5/20

Court to serve
